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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               CENTRAL DIVISION

UNITED STATES OF AMERICA                         )                            PLAINTIFF
                                                 )
v.                                               )      No. 4:22CR00306-01 DPM
                                                 )
                                                 )
EDWINA MARTIN                                    )                            DEFENDANT



       DEFENDANT’S MOTION FOR TEMPORARY MODIFICATION

        The Defendant, Edwina Martin, by and through her attorney, Molly Sullivan, and

for her Motion for Temporary Modification states as follows:

     1. On November 2, 2022, the Defendant was charged in a two count Indictment with

one count of Extortion, in violation of 18 U.S.C. § 875(d), and one count of Distribution

of Child Pornography, in violation of 18 U.S.C. § 2252(a).

     2. The Defendant appeared for Arraignment on November 17, 2022, pursuant to a

summons, and was placed on conditions of release, pertinent here, electronic monitoring

with a curfew- restricting her to her residence from 7:00 p.m. until 6:00 a.m.;

     3. The Defendant has complied with all conditions of release thus far;

     4. At this time, the Defendant is seeking temporary modification by extending her

curfew until 9:00 p.m. today, Thursday, February 23, 2023, so that she may attend her

daughter’s recital for the “This is Us” Black History month performance at Little Rock

Southwest Magnet High School (see Exhibit 1);




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   5. Assistant United States Attorney Kristin Bryant has been contacted and does not

object;

   6. The Defendant’s supervising pretrial officer, United States Probation Office Alison

Scrifres is fine with the temporary modification so long as the Court approves.

       WHEREFORE, the Defendant, Edwina Martin, respectfully requests that this Court

grant her Motion and for all other just and appropriate relief.

                                                  Respectfully submitted,

                                                  LISA G. PETERS
                                                  FEDERAL DEFENDER

                                           By:    Molly Sullivan
                                                  Bar Number 2009-200
                                                  Assistant Federal Defender
                                                  The Victory Building, Suite 490
                                                  1401 West Capitol Avenue
                                                  Little Rock, AR 72201
                                                  (501) 324-6113
                                                  E-mail: Molly_Sullivan@fd.org

                                           For:   Edwina Martin, Defendant




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